         Case 1:21-cr-00291-ABJ Document 116 Filed 05/04/22 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-cr-291-3 (ABJ)
                                              :
KYLE JAMES YOUNG,                             :
                                              :
                       Defendant.             :


     CONSENT MOTION TO DOCKET REDACTED STATEMENT OF OFFENSE

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to publicly docket a redacted version of the Statement

of Offense during the plea hearing set for May 5, 2022.

       In support thereof, the government states as follows:

       1.      The parties are scheduled to enter into a plea agreement on May 5, 2022.

       2.      The Statement of Offense, which both parties have signed, contains information

from the victim’s medical records. To protect the victim’s privacy, the government is requesting

that the version of the Statement of Offense filed to the public docket be redacted of information

that was obtained from the victim’s medical records.

       3.      Defense counsel, Sam Moore, indicated that the defense does not object to the

government’s request.

       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court publicly docket a redated version of the Statement of Offense.




                                                  1
Case 1:21-cr-00291-ABJ Document 116 Filed 05/04/22 Page 2 of 4




                            Respectfully submitted,

                            MATTHEW M. GRAVES
                            UNITED STATES ATTORNEY
                            D.C. Bar No. 481052

                            BY:

                                /s/
                            KIMBERLY L. PASCHALL
                            Assistant United States Attorney
                            Federal Major Crimes Section
                            D.C. Bar No. 1015665
                            601 D St, N.W.,
                            Washington, D.C. 20001
                            202-252-2650
                            Kimberly.paschall@usdoj.gov

                                  /s/
                            CARA A. GARDNER
                            Assistant United States Attorney
                            D.C. Bar 1003793
                            U.S. Attorney’s Office
                            601 D St, N.W.,
                            Washington, D.C. 20001
                            202-252-7009
                            Cara.Gardner@usdoj.gov




                              2
           Case 1:21-cr-00291-ABJ Document 116 Filed 05/04/22 Page 3 of 4




                                CERTIFICATE OF SERVICE

       I certify that a copy of the Government’s Consent Motion to Docket Redacted

Statement of Offense was served on all counsel of record via the Court’s electronic filing

service.


                                             /s/ Cara Gardner
                                            CARA GARDNER
                                            Assistant United States Attorney


Date: May 4, 2022




                                               3
         Case 1:21-cr-00291-ABJ Document 116 Filed 05/04/22 Page 4 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-cr-291-3 (ABJ)
                                              :
KYLE JAMES YOUNG,                             :
                                              :
                       Defendant.             :

                                             ORDER

       This matter having come before the Court pursuant to the application of the United States

to publicly docket a redacted version of the Statement of Offense for Kyle James Young, the Court

finds that the victim’s right to privacy regarding medical records justifies the request.



       IT IS THEREFORE ORDERED that the motion is hereby GRANTED, and that Clerk’s

office shall docket the government’s redacted version of the Statement of Offense.



Date: May 5, 2022                                     ___________________________________
                                                      AMY BERMAN JACKSON
                                                      UNITED STATES DISTRICT JUDGE
